Case 1:19-cr-00018-AB.] Document 13 Filed 01/29/19 Page 1 of 2
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Plaintiff,

v. Case 1:19-cr-0()018-ABJ

ROGER J. STONE, JR.

Defendant.

AMENDED MOTION FOR PRO HAC VICE ADMISSlON OF GRANT ]. SMITH

Under this Court’s Local Criminal Rule 44.1 [c], (d), I, L. Peter Farkas, counsel for defend-

ant Roger Stone, respectfully move that the Court permit Grant Smith to appear pro hac vice

as counsel for defendant Roger Stone. lVIr. Grant Smith's declaration and a proposed order

are attached to this motion.

Dated:

]anuary 29, 2019 Respectfully submitted,

/s/ L. Peter Farkas

 

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Counselfor Roger Stone

Case 1:19-cr-00018-AB.] Document 13 Filed 01/29/19 Page 2 of 2

CERTIFICATE OF SERVlCE
l certify that on ]anuary 29, 2019, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which Will send a notice of electronic filing to all registered

parties.

Dated: ]anuary 29, 2019 /s/ L. Peter Farkas
L. Peter Farkas
Counsel for Roger Stone

Case 1:19-cr-00018-AB.] Document 13-1 Filed 01/29/19 Page 1 of 1

lN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
Plaintiff,

V. Case l :l9-cr-00018-ABJ
ROGER J. STONE, JR.
Defendant.
/

DECLARATION OF GRANT J. SMITH IN SUPPORT OF
MOTION FOR ADMISSlON PRO HAC VICE

I, Grant J. Smith, hereby declare:
l. My name, office address, and telephone number are as follows:
Grant J. Smith
StrategySmith, PA
401 East Las Olas Boulevard
Suite 130-120
Fort Lauderdale, FL 33301
954.328.9064
gsmith@strategysmith.com
2. l have been admitted to the following courts and bars:
Supreme Court of Florida (1992) (Fla. Bar No. 935212)
U.S. District Court for the Southern District of Florida
3. l am currently in good standing With all states, courts, and bars in Which l am admitted
4. l have been admitted pro hac vice in this Court once in the past 2 years.
5. l have never been disciplined by any bar in Which I Was nor am a member.
6. I do not have an office located Within the District of Columbia.
l declare under penalty of perjury that the foregoing is true and correct.

Executed in the District of Columbia this 29th day of January, 2019.

/s/ Grant Smith
Grant J. Smith

Case 1:19-cr-00018-AB.] Document 13-2 Filed 01/29/19 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

v. Case l :l9-cr-00018-ABJ

ROGER J. STONE, JR.

Defendant.
/

 

ORDER GRANTING MOTION FOR ADMISSlON OF ATTORNEY GRANT J. SMITH
The Court has reviewed the Defendant Roger Stone's motion for admission of attorney
Grant Smith pro hac vice. Upon consideration of that motion, the Court grants attorney Grant

Smith pro hac vice admission to this Court.

IT lS SO ORDERED.

DATED:

 

Amy Berman Jackson
United States District Judge

